Case 1:15-cv-00144-WES-LDA Document 151 Filed 11/01/18 Page 1 of 2 PageID #: 6417


                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

  JOHN DOE,
                            Plaintiff,

  v.                                                      C.A. NO.: 15-cv-00144-S-LDA

  BROWN UNIVERSITY, in
  Providence in the State of Rhode Island
  and Providence Plantations,
                        Defendant.

         JOINT MOTION FOR THE COURT’S ENTRY OF CONSENT DECREE AND
        FINAL JUDGMENT REGARDING COUNT III OF PLAINTIFF’S COMPLAINT

             Plaintiff John Doe and Defendant Brown University jointly move that the Court approve

  and enter the Consent Decree and Final Judgment Regarding Count III of Plaintiff’s Complaint in

  the form attached as Exhibit A.           As reasons therefore, the parties state the following:

             1.      On August 30, 2018, the parties participated in a settlement conference with the

  Honorable John J. McConnell, Jr. During the settlement conference, the parties reached an

  agreement to resolve all claims pled in Plaintiff’s Complaint.

             2.      As part of their agreement, the parties drafted the attached Consent Decree and

  Final Judgment adjudicating Plaintiff’s breach of contract claims pled in Count III of the

  Complaint.

             3.      Under the parties’ confidential settlement agreement which has been fully

  executed, all other counts in Plaintiff’s Complaint will be dismissed with prejudice through a

  Dismissal Stipulation to be filed in this litigation.

             Therefore, in furtherance of the resolution of this litigation and consistent with their

  agreement, the parties request that the Court approve and enter the attached Consent Decree and

  Final Judgment Regarding Count III of Plaintiff’s Complaint.




  4835-9583-4745.1
Case 1:15-cv-00144-WES-LDA Document 151 Filed 11/01/18 Page 2 of 2 PageID #: 6418


                                     For Plaintiff John Doe

                                     By His Attorneys,

                                     NESENOFF & MILTENBERG, LLP

                                     /s/ Andrew T. Miltenberg
                                     Andrew T. Miltenberg, Esq. (admitted pro hac vice)
                                     Tara Davis, Esq. (admitted pro hac vice)
                                     363 Seventh Avenue, Fifth Floor
                                     New York, NY 10001
                                     Tel: 212-736-4500
                                     amiltonberg@nmllplaw.com
                                     tdavis@nmllplaw.com
  November 1, 2018

                                            -and-

                                            Local Counsel for plaintiff John Doe,

                                     /s/ Samuel D. Zurier
                                     Samuel D. Zurier, Esq. (#3576)
                                     55 Dorrance St., Suite 400
                                     Providence, RI 02903
                                     Tel: 401-861-0200
                                     sdz@zurierlaw.com
  November 1, 2018

                                     For Defendant

                                     BROWN UNIVERSITY

                                     By Its Attorney,


                                     /s/ Steven M. Richard
                                     Steven M. Richard, Esq. (#4403)
                                     Nixon Peabody LLP
                                     One Citizens Plaza, Suite 500
                                     Providence, RI 02903
                                     Tel: 401-454-1020
                                     Fax: 401-454-1030
                                     srichard@nixonpeabody.com
  November 1, 2018




                                        2
  4835-9583-4745.1
